     Case 2:18-cv-00010-JRG Document 1 Filed 01/12/18 Page 1 of 19 PageID #: 1



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

OPTIMIZE TECHNOLOGY                            §
SOLUTIONS, LLC,                                §
                                               §
        Plaintiff,                             §
                                               §          Civil Action No. 2:18-cv-00010
v.                                             §
                                               §
TAPESTRY, INC.,                                §
                                               §          JURY TRIAL DEMANDED
        Defendant.                             §


                      COMPLAINT FOR PATENT INFRINGEMENT

        COMES NOW Optimize Technology Solutions, LLC, and files this its Complaint for

patent infringement against Tapestry, Inc., (“Defendant”) and would show the Court as follows:

                                             I.
                                          PARTIES

        1.      Plaintiff Optimize Technology Solutions, LLC (“Optimize”) is a Texas limited

liability company with its principal place of business at 3701 Turtle Creek Blvd., Suite 12G,

Dallas, TX 75219.

        2.      Upon information and belief, Defendant is a corporation organized and existing

under the laws of the state of Maryland and having an office and a place of business at 10

Hudson Yards, New York, NY 10001. Defendant may be served with process through its

registered agent, CT Corporation System at 1999 Bryan St., Ste. 900 Dallas, TX 75201-3136.




                                               1
  Case 2:18-cv-00010-JRG Document 1 Filed 01/12/18 Page 2 of 19 PageID #: 2



                                             II.
                                  JURISDICTION AND VENUE

        3.      This is an action for patent infringement arising under the Patent and Trademark

Act, 35 U.S.C. § 1 et seq. This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1338.

        4.      This Court has personal jurisdiction over Defendant. Upon information and belief,

Defendant is subject to this Court’s specific and general personal jurisdiction pursuant to due

process and/or the Texas Long Arm Statute, due at least to its substantial business in this forum,

including (a) at least a portion of the infringements alleged herein; and (b) regularly doing or

soliciting business and/or deriving revenue from goods and/or services provided to individuals in

Texas and in this judicial district.

        5.      Venue is proper in this District under 28 U.S.C. 1400(b) because acts of

infringement are occurring in this District and because Defendant has a regular and established

place of business in this District. For example, on information and belief, Defendant has places

of business located at (a) 820 West Stacy Road, Allen, TX 75013; (b) 4601 S Broadway Ave.,

Tyler, TX 75703; (c) 7601 Windrose Avenue, Plano, TX 75024; and (d) 2601 Preston Road,

Frisco, TX 75034.

                                               III.
                                       THE OPTIMIZE PATENT

        6.      On December 11, 2001, United States Patent No. 6,330,592 (the “’592 Patent”),

entitled “Method, Memory, Product, and Code for Displaying Pre-Customized Content

Associated with Visitor Data” was duly and legally issued by the United States Patent and

Trademark Office (the “USPTO”) to Michael K. Makuch and Neil Webber. Optimize is the

owner of the entire right, title and interest in and to the ’592 Patent.




                                                   2
  Case 2:18-cv-00010-JRG Document 1 Filed 01/12/18 Page 3 of 19 PageID #: 3



       7.      The ʼ592 Patent is directed to systems and methods for delivering “pre-

customized” web content to computer users “without requiring dynamic page generation for each

individual visitor.” Exhibit A at col. 2:15–20.

       8.      Providing “pre-customized” web content to a plurality of client computers

connected via a network in the manner claimed in the ʼ592 Patent solved technical problems of

techniques and systems known in the art. For example, the ʼ592 Patent describes systems and

methods for providing “a highly efficient and scalable mechanism for assembling personalized

pages based on information contained in the visitor profile, without requiring a full dynamically-

generated customized page computation for each visitor.” Id. at col. 3:31–35.

       9.      Prior to the invention of the ʼ592 Patent, web site providers who wanted to

provide personalized web pages to web site visitors had to obtrusively determine a visitor’s

interest(s) (e.g., through a questionnaire) and then dynamically generate a web page containing

content relevant to such interest(s). Id. at col. 1:60–63.

       10.     Dynamic generation of such personalized web pages produced slow response

times and did not scale well. Id. at col. 2:1–8. Disadvantages of dynamic generation include:

“web site visitors frequently prefer to not fill out questionnaires when visiting a web site, making

it difficult for a site to gather the necessary visitor preference data.” Also, “dynamic generation

of every page on a server computer does not scale well for a large number of requests. In other

words, existing methods provide a relatively slow response when a large number of requests are

made for personalized pages. This slow response time is attributable to the fact that in existing

systems a computer program must be executed to completely generate each dynamic page on

every single request.” Id. at col. 1:61–2:8.




                                                   3
  Case 2:18-cv-00010-JRG Document 1 Filed 01/12/18 Page 4 of 19 PageID #: 4



       11.      The ʼ592 Patent describes how the inventors overcame the disadvantages of prior

art systems and describes methods and systems for providing “pre-customized” web content (i.e.,

predetermined content that appears to be personalized for a specific visitor) from cache memory

instead of having to dynamically generate web content for a specific visitor. Id. at col. 2:15–20.

       12.      The ʼ592 Patent describes a web page that “has been customized to reflect the fact

that this visitor, preferably based on prior visits, has demonstrated interest in” a particular subject

matter. Id. at col. 5:5–11. “This type of personalization can be achieved in the prior art only by

forcing the user to explicitly answer survey questions and creating individualized pages.” Id. at

col. 5:16–18.

       13.      The ʼ592 Patent describes “personalization” that “can be done according to the

accumulated data in the visitor’s file, gathered implicitly by observing which Web Content

Items, and therefore which categories have been of interest to the visitor in the past.” The ʼ592

Patent describes “personalization” “based on predetermined Web Content Items that are

developed and then cached into memory.” Id. at col. 5:55–60.

       14.      This approach contrasts with prior art personalization based on a “one-time

dynamically generated customized web page, which would be too resource intensive and

therefore slow.” Id.

       15.      The ʼ592 Patent does not preempt the field or preclude the use of other web site

customization systems. As noted in the ʼ592 Patent, a “server computer can use a technique

known as ‘dynamically-generated customized pages’ to create a web page in response to a

request for information from a client computer. A dynamically-generated customized page

results in a set of information in a particular format.” Id. at col. 1:34–47. Other web site




                                                  4
  Case 2:18-cv-00010-JRG Document 1 Filed 01/12/18 Page 5 of 19 PageID #: 5



customization systems and methods may include gathering user input to survey questions to use

in dynamically generating a customized page for such visitor.

       16.     The ʼ592 Patent claims are not directed to a method of organizing human activity

or to a fundamental economic practice long prevalent in our system of commerce. The ʼ592

Patent claims are directed toward systems and methods that solve a technical problem—how to

generate customized web pages for thousands of users without unduly burdening the web

servers—with a technical solution: delivering web pages that appear to be customized to a visitor

through the use of “web content items” which have “a predetermined association that can be

used to enable the appearance of customization/personalization for visitors” and delivering such

web content items from cache.

       17.     The ʼ592 Patent does not take a well-known or established business method or

process and apply it to a general-purpose computer. Instead, the specific system and processes

described in the ʼ592 Patent have no direct corollary to a well-known business process. The ʼ592

Patent solves a technical problem that arises in the context of providing internet services. As the

internet developed and providers attempted to make web sites more personalized, technical

problems arose with how best to provide those personalized web sites without unduly burdening

the provider’s computer systems. The ʼ592 Patent’s solution improved computer performance at

least by “conserv[ing] computing resources and retain[ing] a higher access speed on a server.”

Id. at col. 6:13–21.

       18.     By determining web content to be delivered over a computer network in advance

and by delivering the predetermined web content from cache, the ʼ592 Patent provides a

technical solution to a technical problem that is intrinsically tied to computer networks (i.e., the




                                                 5
     Case 2:18-cv-00010-JRG Document 1 Filed 01/12/18 Page 6 of 19 PageID #: 6



problems associated with dynamically generating personalized web content for computer users

of the Internet).

           19.      The ʼ592 Patent successfully went through a reexamination proceeding at the

United States Patent and Trademark Office (USPTO), with the reexamination certificate issuing

on December 18, 2012. A true and correct copy of the ’592 Patent, including the reexamination

certificate, is attached hereto as Exhibit A.

           20.      Post-reexamination, this Court conducted a Markman claim construction hearing

and issued a claim construction Order construing the claims of the reexamined ʼ592 Patent.

Optimize Technology Solutions v. Staples, Inc., et al., Case No. 2:11-cv-419-JRG, Memorandum

Opinion and Order (Doc. 269) (the “Staples Order”).1 In the Staple Order, this Court determined

that the ʼ592 Patent involves using “pre-customized” web content “to create an appearance of

customization for [a] particular visitor even though the same content may be served to many

visitors” of a website via a computer network, such as the Internet. Id. at 20 (emphasis in

original). This is accomplished through the use of “web content items” which have “a

predetermined           association      that     can     be     used     to        enable   the   appearance   of

customization/personalization for visitors.” Id. at 21–22. The Court further determined that, by

delivering the pre-customized web content items from “cache,” the ʼ592 Patent avoided

dynamically generating them. Id. at 31–32.

           21.      As described by the inventors:

           The present invention gives the visitor the impression of a customized page visitor
           [sic] when in actuality it presents pre-customized pages and/or page components
           that have been cached. The system thereby conserves computing resources and
           retains a higher access speed on a server as opposed to those systems that
           dynamically generate customized pages for each visitor.


1
    A true and correct copy of the Staples Order is attached hereto as Exhibit B.



                                                             6
  Case 2:18-cv-00010-JRG Document 1 Filed 01/12/18 Page 7 of 19 PageID #: 7



Exhibit A at col. 6:14–20 (emphasis added); see also, Id. at col. 5:55–60 (“The ‘personalization’

will not be a one-time dynamically generated customized web page, which would be too

resource intensive and therefore slow, but will be based on predetermined Web Content Items

that are developed and then cached into memory.”).

       22.     The ʼ592 Patent describes improvements of computer server technology (e.g.,

web servers). As an example, rather than providing a customized page to a visitor to a web site,

which requires both ascertaining the interest(s) of the visitor and then dynamically generating

web content to meet such interest(s), the ʼ592 Patent describes use of pre-determined

associations to provide “pre-customized” web content—web content that only appears to be

customized to the visitor—and provides such web content from cache. The pre-determined

associations, which are determined in advance of the visitor requesting a given web page, allows

the display of web content that appears to be personalized to such visitor. Moreover, by

delivering this “pre-customized” web content from cache, without having to dynamically

generate such content, computer servers can deliver the pre-customized content more efficiently

and more rapidly, improving the performance and effectiveness of a web site.

       23.     The technical problem addressed by the inventors of the ʼ592 Patent specifically

arises in the realm of computer networks (e.g. the Internet), namely the problem conventional

systems had when attempting to efficiently provide customized or personalized pages to visitors

to a web site. The claimed technical solution that addresses this problem presents web content

over a network that is both “cached” (i.e., not dynamically generated) and “pre-customized” in

order to give the appearance of customization for visitors to the web site. This solution improves

the way that computer systems operate, conserving computing resources and increasing the

speed at which web content is delivered via a web site.




                                                7
    Case 2:18-cv-00010-JRG Document 1 Filed 01/12/18 Page 8 of 19 PageID #: 8



         24.      As demonstrated by its frequent citation by the United Stated Patent Office in

other later-issued patents involving computer-network technologies, the ʼ592 Patent represents a

fundamental technical improvement involving computer networks. Specifically, the ʼ592 Patent

has been cited during the prosecution of over eighty subsequently issued patents owned by

companies including Amazon, Netflix, Yahoo! Inc., CBS Interactive, Inc., and Sony

Corporation.2

         25.      Claim 16 of the ʼ592 Patent recites means-plus-function claim limitations

governed by 35 U.S.C. § 112(f). See, Exhibit A, Ex Parte Reexamination Certificate at col. 2:51–

3:9. The corresponding structure(s) in the ʼ592 Patent specification include(s) algorithms that

improve the functioning of a computer by improving efficiency: the “system thereby conserves

computing resources and retains a higher access speed on a server as opposed to those systems

that dynamically generate customized pages for each visitor.” Exhibit A at col. 6:14–20.3

         26.      The ʼ592 Patent discloses computer algorithms and structures in the specification.

These algorithms and structures correspond to the means-plus-function claim limitations of

Claim 16 of the ʼ592 Patent. In the Staples Order, the Court found corresponding structure for

the means-plus-function claim limitations of Claim 16. See, Exhibit B at 74–102.

         27.      Figure 3 of the ʼ592 Patent, reproduced below for convenience, and its associated

text describe “a relationship diagram” for an embodiment of the invention. See, Exhibit A at col.

4:4–5, 6:43–7:27.


2
  See, e.g., US Patent Nos. 8,963,847 (assigned to Netflix, Inc.), 8,620,767 (assigned to Amazon.com, Inc.),
8,595,226 (assigned to Yahoo! Inc.), 8,214,264 (assigned to CBS Interactive, Inc.), and 6,422,870 (assigned to Sony
Corporation).
3
  See Eugene Quinn, The Ramifications of Alice: A Conversation with Mark Lemley, IPWATCHDOG BLOG, Sept. 4,
2014, http://www.ipwatchdog.com/2014/09/04/the-ramifications-of-alice-a-conversation-with-mark-
lemley/id=51023/. (“If the patent is interpreted as a means-plus-function claim, it will be limited to the particular
software implementation the patentee actually built or described. Such a narrow, specific claim should not be an
unpatentable ‘abstract idea.’”) (last visited Dec. 21, 2017).



                                                          8
  Case 2:18-cv-00010-JRG Document 1 Filed 01/12/18 Page 9 of 19 PageID #: 9




        28.     The text
                    t    associaated with Figure 3 inccludes a deescription oof structuress and

        ms “when a browser 310
algorithm                    0 operating on a client ccomputer (aas in 110 in FIG. 1) maakes a

request to
        t the web site
                  s server (aas in 130 in
                                        n FIG.1)” thhrough “upddated visitor file data [bbeing]

delivered
        d back to thee visitor dataa manager 35
                                              50 and storeed in the visiitor data filee store 375 bby the

visitor fille manager 370.”
                      3     Id. at col.
                                   c 6:43–7:2
                                            27.

        29.     Figuree 4 of the ʼ592 Patent, reeproduced bbelow for convenience, aand its assocciated

text desccribe an em
                   mbodiment of the inv
                                      vention “connfigured forr use with multiple sserver

computerrs.” Id. at co
                     ol. 4:7–8, 7:2
                                  28–65.




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 Case 2:18-cv-00010-JRG Document 1 Filed 01/12/18 Page 10 of 19 PageID #: 10



       30.        The text
                      t    associaated with Figure 4 inccludes a deescription oof structuress and

algorithm
        ms “to achiev
                    ve higher peerformance by
                                           b sharing thhe load acrosss multiple sserver machiines.”

Id. at coll. 7:28–65; see
                      s also, Claaim 8. This description includes a ““load balanccer, such as C
                                                                                              Cisco

Local Diirector, a DN
                    NS round ro
                              obin, or equiivalent technnology” thatt exist “betw
                                                                                ween the webb site

visitor’s browser 410
                    0 and a set of server request handleers 431, 4322, 433.” Id.. at col. 7:288–65.

The desccription also includes intteraction bettween each “server requuest handlerr” and “theirr own

visitor daata managerr 441, 442, 443,”
                                 4     and a “visitor file manager 4770 as a sepaarate mechannism”

that “serv
         ves as the collection po
                                oint for all updated
                                             u       data generated bby the indivvidual visitorr data

managerss.” Id.

       31.        Figuree 2 of the ʼ592 Patent, reeproduced bbelow for convenience, aand its assocciated

text describe an “exaample page” delivered by
                                            y a “web serrver.” Id. at 44:3, 4:40–6:442.




       32.        The text
                      t    associaated with Figure 2 inccludes a deescription oof structuress and

        ms to solve “the
algorithm           “    problem
                               m of explicit questions aand the perfoormance prooblem.” Id. aat col.

5:26–27. The structu
                   ures and algo
                               orithms solve this probleem by creatiing a page thhat is not “aa one-

time dyn
       namically geenerated custtomized web
                                          b page, whiich would bbe too resourrce intensivee and


                                                   10
 Case 2:18-cv-00010-JRG Document 1 Filed 01/12/18 Page 11 of 19 PageID #: 11



therefore slow, but will be based on predetermined Web Content Items that are developed and

then cached into memory.” Id. at col. 4:40–6:42.

       33.     The structures and functions described in the ’592 Patent recite structure

supporting “means for labeling content of a web site.” For example, the ʼ592 Patent recites “the

developer can then assign at least one category and/or a keyword to each of the Web Content

Items. These categories and key words are used to determine visitor interest when they access

Web Content Items on a Web Site.” Id. at col. 5:40–44; see also, Exhibit B at 75 and 84–86.

       34.     The structures and functions described in the ’592 Patent recite structure

supporting “means for registering the labeled accessed content in a personalized data file.” For

example, the ʼ592 Patent recites that “when a visitor accesses a URL and the associated Web

Content Items,” the program “registers the representative categories belonging to the web page.”

Exhibit A at col. 5:61–67; see also, Exhibit B at 75 and 86–88.

       35.     The structures and functions described in the ’592 Patent recite structure

supporting “means for storing the data file for at least one visitor.” For example, the ʼ592 Patent

recites the “updated visitor file data is delivered back to the visitor data manager 350 and stored

in the visitor data file store 375 by the visitor file manager.” Exhibit A at col. 7:21–27; see also,

Exhibit B at 76 and 89.

       36.     The structures and functions described in the ’592 Patent recite structure

supporting “means for generating a set of pre-customized displays.” For example, the ʼ592

Patent recites: “a home page for a large web site might include a personalization directive

describing the inclusion of an article related to a visitor’s favorite NFL team. The personalization

directive function examines the visitor profile, determines the favorite team, and includes the

appropriate page with information about that team. In this way, each visitor to the web site might




                                                 11
 Case 2:18-cv-00010-JRG Document 1 Filed 01/12/18 Page 12 of 19 PageID #: 12



receive a different introductory web page, customized for their preferences. Even though every

visitor receives a page that appears to be customized for them, since, in fact, there are only 30 or

so NFL teams; the caching mechanism of the invention ensures that the dynamic page generation

only occurs at most 30 or so times.” Exhibit A at col. 3:6–18; see also, Exhibit B at 77 and 92–

95.

       37.     The structures and functions described in the ’592 Patent recite structure

supporting “means for caching the set of pre-customized displays on the server.” For example,

the ʼ592 Patent recites: “The component assembler uses the pre-customized file handler 360, to

retrieve the Web Content Items, formatted as pre-customized pages, that are appropriate for this

visitor. Pre-customized pages can be cached in a pre-customized file store 365, or can be

dynamically generated on demand by the dynamic page generator 380.” Id. at col. 7:6–11; see

also, Exhibit B at 77 and 95–97.

       38.     The structures and functions described in the ’592 Patent recite structure

supporting “means for analyzing a personalized data file of the second visitor and, based on

visitor preferences of said second visitor, said second visitor with a same pre-customized display

displayed to a previous visitor.” For example, the ʼ592 Patent recites: “If a visitor file exists for

the current visitor, the program accesses such visitor file to determine the visitorʼs interests as

determined by the keywords associated with prior Web Content Items served, and, in one

embodiment, there may be a weighing factor or other algorithmic determination for the

additional Web Content Items viewed by the visitor during the most recent usage. The program

then selects a pre-customized page or pre-customized page components which should reflect this

interest. These selections can be assembled by a component assembler 340, and may be further




                                                 12
 Case 2:18-cv-00010-JRG Document 1 Filed 01/12/18 Page 13 of 19 PageID #: 13



subject to personal modification by a monogrammer 330 to make changes such as inserting the

visitorʼs name onto the page.” Exhibit A at col. 6:60–7:5; see also, Exhibit B at 78 and 97–101.

       39.     The structures and functions described in the ’592 Patent recite structure

supporting “means for displaying said same pre-customized display from cache onto a web page

accessed by said second visitor without regenerating said same cached pre-customized display

for said second visitor.” For example, the ʼ592 Patent recites “The component assembler uses the

pre-customized file handler 360, to retrieve the Web Content Items, formatted as pre-customized

pages, that are appropriate for this visitor. Pre-customized pages can be cached in a pre-

customized file store 365, or can be dynamically generated on demand by the dynamic page

generator 380.” Exhibit A at col. 4:3; see also, Exhibit B at 76 and 89–92.

                                              V.
                                       CLAIM FOR RELIEF

                   (PATENT INFRINGEMENT OF THE ’592 PATENT)
                                 (35 U.S.C. § 271)

       40.    Optimize incorporates the allegations set forth above in paragraphs 1 through 39.

       41.    Upon information and belief, without license or authorization and in violation of

35 U.S.C. § 271(a), Defendant has been and is now infringing at least Claims 1, 16 and 25 of the

’592 Patent in this district and throughout the United States, literally or under the doctrine of

equivalents, by, among other things, making, having made, and/or using (including for testing

purposes) methods and/or systems utilized by at least one website owned or operated by or for

Defendant    (including,   but   not    limited    to,   http://www.coach.com)   (the   “Accused

Instrumentalities”). The Accused Instrumentalities provide pre-customized displays, including

the product recommendation functionality on such websites, all to the injury of Plaintiff.

Defendant is thus liable for infringement of the ’592 Patent pursuant to 35 U.S.C. § 271.




                                                  13
 Case 2:18-cv-00010-JRG Document 1 Filed 01/12/18 Page 14 of 19 PageID #: 14



       42.     Regarding Claim 1, the Accused Instrumentalities perform a method that includes

labeling content of the Defendant’s web site. For example, as seen on the web page below,

content has been labeled with the label “Large Wallets:”




       43.     Visitors to the Defendant’s web site can access content on the web site. When a

visitor (e.g., a first visitor) accesses labeled content of the web site, the Accused Instrumentalities

register the labeled accessed content in a data file and store the data file for such visitor. For

example, when a first visitor (e.g., Linda) accessed content (e.g., “ACCORDIAN ZIP WALLET

IN COACH LINK GLOVETANNED LEATHER”) and added the accessed content to her

“shopping bag,” the Accused Instrumentalities registered the labeled accessed content in Linda’s

data file and stored such data file. To illustrate, when Linda subsequently views her “SHOPPING

BAG,” the Accused Instrumentalities display Linda’s previously accessed content as indicated in

the screen shot of a portion of the web page provided by the Accused Instrumentalities when

Linda viewed her “SHOPPING BAG”:



                                                  14
Case 2:18-cv-00010-JRG Document 1 Filed 01/12/18 Page 15 of 19 PageID #: 15




      44.    The Accused Instrumentalities generate, cache and display pre-customized

displays for a first visitor. In the example noted in the screen shot above, the Accused

Instrumentalities generated, cached and displayed pre-customized displays, including a pre-

customized display associated with the content “ACCORDIAN ZIP WALLET IN PRAIRIE

PRINT COATED CANVAS”, such as in connection with Linda placing other content (e.g.,

“ACCORDIAN ZIP WALLET IN COACH LINK GLOVETANNED LEATHER”) into her

“SHOPPING BAG.”


                                            15
 Case 2:18-cv-00010-JRG Document 1 Filed 01/12/18 Page 16 of 19 PageID #: 16



       45.    When a second visitor visits the Defendant’s web site, the Accused

Instrumentalities analyze the data file of the second visitor, associate the second visitor with the

same at least one pre-customized display previously displayed to a previous visitor (e.g., the first

visitor), and display the same at least one pre-customized display to the second visitor. The

analyzing is performed after generating the at least one pre-customized display and the at least

one pre-customized display is not regenerated before being displayed to the second visitor. For

example, as shown in the following screen shot of a portion of a web page provided by the

Accused Instrumentalities, when a second visitor (e.g., Robert) visits the Defendant’s web site

and adds “MARKET TOTE IN PRAIRIE PRINT POLISHED PEBBLE LEATHER WITH

REBEL CHARM” to his “SHOPPING BAG” and then subsequently requests to view his

“SHOPPING BAG” page, the Accused Instrumentalities analyzed Robert’s data file (e.g., his

“shopping bag” file) and then returned a web page to Robert which displayed content (e.g., under

“You May Also Like”) to Robert based on his data file, including the content associated with

“ACCORDIAN ZIP WALLET IN PRAIRIE PRINT COATED CANVAS” that was previously

displayed to Linda (as shown in the screen shot above) and is displayed to Robert (after retrieval

from cache without regeneration).




                                                16
 Case 2:18-cv-00010-JRG Document 1 Filed 01/12/18 Page 17 of 19 PageID #: 17




       46.    Regarding Claim 16, the Accused Instrumentalities comprise or use one or more

structures and algorithms supporting a computer program product for operating a web site on a

server computer as described above with respect to Claim 1.

       47.    Regarding Claim 25, the Accused Instrumentalities comprise or use one or more

server computers and contain instructions executable to perform a method as described above

with respect to Claim 1.

       48.    As a consequence of Defendant’s infringement of the ’592 Patent, Optimize has

suffered and will continue to suffer monetary damages in an amount not yet determined.


                                              17
 Case 2:18-cv-00010-JRG Document 1 Filed 01/12/18 Page 18 of 19 PageID #: 18



Optimize is entitled to recover from Defendant the damages sustained by Optimize as a result of

Defendant’s infringement of the ʼ592 Patent in an amount subject to proof at trial, which, by law,

cannot be less than a reasonable royalty, together with interest and costs as fixed by this Court

under 35 U.S.C. § 284.

       49.    Optimize is in compliance with 35 U.S.C. § 287.

                                          VI.
                                   PRAYER FOR RELIEF

       WHEREFORE, Optimize respectfully requests that this Court enter:

       1.      A judgment in favor of Optimize that Defendant has infringed the ʼ592 Patent;

       2.      A judgment and order requiring Defendant to pay Optimize its damages, costs,

expenses, and prejudgment and post-judgment interest for Defendant’s infringement of the ʼ592

Patent as provided under 35 U.S.C. § 284;

       3.      A judgment and order finding that this is an exceptional case within the meaning

of 35 U.S.C. § 285 and that Defendant be ordered to pay Optimize’s attorney fees and costs; and

       4.      Any and all other relief the Court deems just and proper under the circumstances.

                                        VII.
                                DEMAND FOR JURY TRIAL

       Optimize demands trial by jury for all claims for relief herein pursuant to Federal Rule of

Civil Procedure 38.




                                               18
Case 2:18-cv-00010-JRG Document 1 Filed 01/12/18 Page 19 of 19 PageID #: 19



                                 Respectfully submitted,


Dated: January 12, 2018          By: /s/ Steven Sprinkle
                                    Steven Sprinkle
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                                    Scott Crocker
                                    Texas State Bar No. 00790532
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                                     pending)
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